Case 1:23-cv-00108-LMB-JFA Document 1197-1 Filed 08/22/24 Page 1 of 25 PageID# 88426




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

     UNITED STATES, et al.,

                       Plaintiffs,

          vs.
                                                 No. 1:23-cv-00108-LMB-JFA
     GOOGLE LLC,

                       Defendant.



                     GOOGLE LLC’S MOTION IN LIMINE
     TO EXCLUDE NON-PARTY LAY OPINIONS REGARDING GOOGLE’S ALLEGED
                 MONOPOLY OR ANTICOMPETITIVE CONDUCT
Case 1:23-cv-00108-LMB-JFA Document 1197-1 Filed 08/22/24 Page 2 of 25 PageID# 88427




                                                      TABLE OF CONTENTS


    I.        INTRODUCTION ................................................................................................................1
    II.       BACKGROUND..................................................................................................................3
    III.      LEGAL STANDARD ........................................................................................................14
    IV.       ARGUMENT .....................................................................................................................14
              A.         The Court should exclude lay testimony concerning market definition, market
                         power, and competitive effects because it is improper expert opinion
                         testimony offered by lay witnesses ........................................................................14
              B.         The Court should exclude lay witness opinion testimony because it is
                         speculative and lacking in foundation. ...................................................................18
              C.         The Court should exclude improper lay opinion testimony to the extent it
                         relies on hearsay .....................................................................................................19
    CONCLUSION ..............................................................................................................................20




                                                                      i
Case 1:23-cv-00108-LMB-JFA Document 1197-1 Filed 08/22/24 Page 3 of 25 PageID# 88428




                                                   TABLE OF AUTHORITIES

                                                                                                                                    Page(s)

    Cases

    Air Turbine Tech., Inc. v. Atlas Copco AB,
        410 F.3d 701 (Fed. Cir. 2005) .................................................................................................. 16

    Bank of China, New York Branch v. NBM LLC,
       359 F.3d 171, 181-82 (2d Cir. 2004) ................................................................................ 16, 17

    Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc.,
       429 U.S. 477 (1977) ................................................................................................................... 1

    Certain Underwriters at Lloyd’s, London v. Sinkovich,
       232 F.3d 200 (4th Cir. 2000)................................................................................... 2, 14, 15, 19

    United States v. Conn,
       297 F.3d 548 (7th Cir. 2002).................................................................................................... 17

    Daedalus Blue, LLC v. Microstrategy Inc.,
       2023 WL 5337826 (E.D. Va. Aug. 18, 2023) .......................................................................... 18

    Daubert v. Merrell Dow Pharmaceuticals, Inc.,
       509 U.S. 579 (1993) ................................................................................................................. 14

    Fed. Trade Comm’n v. Facebook, Inc.,
       560 F. Supp. 3d 1 (D.D.C. 2021) ........................................................................................ 1, 16

    Flatiron-Lane v. Case Atl. Co.,
       121 F. Supp. 3d 515 (M.D.N.C. 2015)..................................................................................... 19

    Floyd v. City of Spartanburg S.C.,
       2023 WL 7385716 (D.S.C. Aug. 29, 2023) ............................................................................. 14

    Kauffman v. Park Place Hosp. Grp.,
       468 F. App’x 220 (4th Cir. 2012) ............................................................................................ 13

    King v. Rumsfeld,
       328 F.3d 145 (4th Cir. 2003).................................................................................................... 14

    Moke Am. LLC v. Am. Custom Golf Cars, Inc.,
      2023 WL 3686963 (E.D. Va. Jan. 11, 2023)............................................................................ 13

    Nat'l R.R. Passenger Corp. v. Ry. Express, LLC,
       268 F.R.D. 211 (D. Md. 2010) ................................................................................................. 15




                                                                     ii
Case 1:23-cv-00108-LMB-JFA Document 1197-1 Filed 08/22/24 Page 4 of 25 PageID# 88429




    United States. v. Perkins,
       470 F.3d 150 (4th Cir. 2006)............................................................................................. 15, 16

    Prieto v. Malgor,
       361 F.3d 1313 (11th Cir. 2004)............................................................................................... 14

    United States v. Turner,
       781 F.3d 374 (8th Cir. 2015)................................................................................................... 17

    Other Authorities

    Fed. R. Civ. P. 26 .......................................................................................................................... 14

    Fed. R. Evid. 701(a), (c) ................................................................................................................ 14

    Fed. R. Evid. 702(b)-(c) ................................................................................................................ 14

    Federal Rule of Evidence 602 ......................................................................................................... 1

    Federal Rule of Evidence 701 ................................................................................................ passim

    Federal Rule of Evidence 703 ....................................................................................................... 19

    Federal Rule of Evidence 801 ......................................................................................................... 2

    Federal Rule of Evidence 802 ................................................................................................... 2, 19

    Federal Rules of Civil Procedure Rule 26(a)(3) .............................................................................. 3

    Local Civil Rule 30 ......................................................................................................................... 3

    Rule 602 .................................................................................................................................... 2, 18

    Rule 702 ........................................................................................................................ 2, 14, 15, 19

    Rules 602, 701, and 702 .................................................................................................................. 2

    Rules 701 and 702 ......................................................................................................................... 15




                                                                         iii
Case 1:23-cv-00108-LMB-JFA Document 1197-1 Filed 08/22/24 Page 5 of 25 PageID# 88430




    I.     INTRODUCTION

           The antitrust laws “were enacted for the protection of competition, not competitors.”

    Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 488 (1977).1 Yet Plaintiffs have

    built this case in large part from the perspective of Google’s competitors, eliciting improper and

    unsupported opinion testimony for use at trial.

           From depositions of lay witnesses of Google’s ad tech competitors, Plaintiffs have

    designated testimony that Google was “dominant.” Ex. M, Adam Soroca 30(b)(6) (Magnite) Dep

    Tr. (opining on Google’s dominance more than a dozen times). Plaintiffs have also designated

    lay opinions about Google’s market share from witnesses who had done no economic analysis or

    established any qualifications for doing so, and whether Google was a “monopolist”–a “term of

    art under federal law with a precise economic meaning.” Fed. Trade Comm’n v. Facebook, Inc.,

    560 F. Supp. 3d 1, 20 (D.D.C. 2021). Plaintiffs will have ample opportunity to present arguments

    about Google’s market share and whether it has monopoly power, but it must do so through valid

    expert testimony.

           Plaintiffs should be prohibited from eliciting this lay witness testimony at trial—either

    through live witnesses or deposition designations—because none of these third-party competitor

    witnesses has the proper foundation of knowledge, expert qualifications, or done the required

    economic analysis to opine as to whether Google is a monopolist whose conduct harmed

    competition. Such testimony constitutes (i) improper lay opinion testimony under Federal Rule

    of Evidence 701 that is properly the province of experts; (ii) testimony about which the witness

    lacks personal knowledge under Federal Rule of Evidence 602, and (iii) hearsay testimony that



    1
     With respect to quoted material, unless otherwise indicated, all brackets, ellipses, footnote call
    numbers, internal quotations, and citations have been omitted for readability. All emphasis is
    added unless otherwise indicated.


                                                   1
Case 1:23-cv-00108-LMB-JFA Document 1197-1 Filed 08/22/24 Page 6 of 25 PageID# 88431




    cannot be offered by a lay witness under Federal Rule of Evidence 801.

           First, this testimony is inadmissible under Rule 701 because lay witnesses may testify

    only about opinions that are “rationally based on the witness’s perception,” and “not based on

    scientific, technical, or other specialized knowledge.” Fed. R. Evid. 701. Courts exclude lay

    witness testimony that is not rationally based on firsthand knowledge or observation, but is ill-

    disguised expert opinion. E.g., Certain Underwriters at Lloyd’s, London v. Sinkovich, 232 F.3d

    200, 203 (4th Cir. 2000). The experience of third parties in the industry does not render them

    competent to testify as to conclusions such as whether a firm is dominant, a monopoly,

    anticompetitive or causing anticompetitive effects. Because the proffered lay opinion testimony

    is properly the province of expert testimony and not lay testimony, Plaintiffs should not be

    permitted to evade the expert requirements of Rule 702 by offering expert testimony through lay

    witnesses.

           Second, the improper lay opinions should be excluded as speculative and lacking in proper

    foundation under Rule 602. Plaintiffs have elicited and designated testimony that asks lay

    witnesses to engage in speculation or respond to hypotheticals about which they lack personal

    knowledge, sometimes offering their “best guess” or what the witness “would presume.”

           Third, even if this testimony were not prohibited by Rules 602, 701, and 702, the Court

    should still exclude it because these opinions are derived from out-of-court statements and are

    being proffered for the truth of the matter disclosed. Pursuant to Federal Rule of Evidence 802,

    lay witnesses may not rely on hearsay. See Fed. R. Evid. 802; see also Fed. R. Evid. 801.

           Defendant brings this motion understanding that the trial here will be before the Court,

    which can give no weight to loose references to terms like monopolist or dominance. Google

    brings this motion because Plaintiffs’ trial plan includes calling a large number of witnesses to




                                                  2
Case 1:23-cv-00108-LMB-JFA Document 1197-1 Filed 08/22/24 Page 7 of 25 PageID# 88432




    provide inadmissible testimony, wasting the time of the Court and the parties that should be spent

    on the issues and proper evidence in the case.

           Google also recognizes that the Court cannot make across-the-board rulings concerning

    testimony it has not heard. The motion therefore sets forth exemplars of the objected-to testimony

    and a proposed order asking the Court to rule on the examples, so that the parties may be guided

    by that ruling with respect to third-party testimony.

    II.    BACKGROUND

           Plaintiffs have designated improper lay opinion testimony from at least 12 third parties

    about whether Google is a monopolist, what Google’s share is of a given market (and the

    precise contours of that market), and whether Google’s conduct is anticompetitive.2 A sampling

    of this improper testimony—all of which Plaintiffs designated—follows.3

           AppNexus (O’Kelley). Plaintiffs designated testimony from Brian O’Kelley, the

    founder of AppNexus, a company that provided “the cloud computing layer that would facilitate

    realtime bidding” for ad auctions, including tools for ad sellers (publishers), ad buyers

    (advertisers), and an exchange. Ex. J, Brian O’Kelley 30(b)(1) (AppNexus) Dep. Tr. at 40:3-11,

    68:11-69:9; see id. at 207:7-20, 209:8-10 (discussing AT&T’s acquisition of AppNexus and

    later acquisition by Microsoft under the name “Xandr”).




    2
      Pursuant to the Court’s Order Modifying the Pretrial Schedule entered on June 24, 2024, ECF
    No. 871, Rule 26(a)(3) of the Federal Rules of Civil Procedure, and Local Civil Rule 30,
    Google has filed a full set of objections to improper lay opinion testimony as part of its pre-trial
    filings using the objection codes 602, 701, 702, and 802. See ECF Nos. 919, 967, 1088. This
    motion in limine identifies a subset of that objectionable testimony to illustrate the issue and
    guide the court’s resolution of the objections. It should not be construed as a waiver of the full
    set of improper lay opinion objections lodged in those filings.
    3
     A summary of all the designations described in this brief, together with the bases for
    exclusion, are set forth in Appendix A to this brief.


                                                     3
Case 1:23-cv-00108-LMB-JFA Document 1197-1 Filed 08/22/24 Page 8 of 25 PageID# 88433




           O’Kelley opined that the “practices of DFP” including “last look” “dramatically

    increased” AdX’s market share, yet also acknowledged, “I don’t know exactly how it impacted

    market share because I don’t have all the numbers. But in terms of their ability to out-price

    competitors, it had a huge impact . . . .” Id. at 114:3-11; 125:13-126:19.

           On other occasions, O’Kelley was asked whether certain conduct “increase[d] the

    dominance of the DFP ad server?” Id. at 74:17-19 (discussing the DoubleClick acquisition).

    To this, O’Kelley responded with generally improper opinion testimony that his “perspective

    was—is that DFP was already pretty dominant . . . It wasn’t just the best technology—it wasn’t

    the best ad server. But every other ad server company either went out of business or was sold

    for scrap. They just destroyed all competition for that ad server.” Id. at 74:17-75:21.

    Elsewhere, O’Kelley opined that Google had “unique demand” that “was tied to the Google

    search business” and “there were no other way to get those ad dollars, except from Google.” Id.

    at 94:05-96:14. O’Kelley provided no basis for this testimony, such as firsthand knowledge of

    his own unsuccessful attempts to reach these advertisers or some personal investigation into

    whether all the advertisers who advertised on Google Search did not use any other non-Google

    buying tools.

           Equativ (Creput). Plaintiffs designated testimony from Arnaud Creput, Equativ’s

    CEO. Equativ is a competitor “ad tech company,” operating both “an ad server and an SSP.”

    Ex. D, Arnaud Creput 30(b)(1) (Equativ) Dep. Tr. at 8:16-9:2. In several instances, Plaintiffs

    ask Creput to opine on Google’s market share. For example, Plaintiffs asked Creput about his

    “understanding of the market share of Google’s DFP as a publisher ad server among media

    publishers.” Id. at 23:22-24:3. Creput opines that “Google’s share is estimated at 90 percent”

    without any indication of the basis for his estimate. Id. Similarly, Plaintiffs asked Creput to




                                                   4
Case 1:23-cv-00108-LMB-JFA Document 1197-1 Filed 08/22/24 Page 9 of 25 PageID# 88434




    “characterize Google DFP’s position in the publisher ad server business.” Id. at 24:4-9. Creput

    opines that Google’s position is “dominating and actually monopolistic.” Id. In another

    instance, Plaintiffs asked Creput to opine whether Google’s manner of competition is “fair.” Id.

    at 115:7-13. Specifically, Plaintiffs asked, “do you think Google competes in a fair and

    transparent manner in the display advertising technology business today?” Id. Creput opines,

    “I think everything I said so far shows that I don’t believe that at all.” Id.

           Index Exchange (Casale). Plaintiffs designated testimony from Andrew Casale, the

    President and CEO of Index Exchange, which is an ad exchange whose customers are

    publishers. Ex. C, Andrew Casale 30(b)(6) (Index Exchange) Dep. Tr. at 12:10-12; 14:9-23.

    Like other third parties, Casale testified as to “the size of Google display network’s market

    share” without any particular data but instead opined, “I would assume significant, but there’s

    also no normal tracking of this, so I can’t comment.” Id. at 115:18-116:5. Likewise, he opined

    that “the market share of folks like Magnite, PubMatic, and Index” are “combined . . . still quite

    a bit smaller” again without data or a precise market definition. Id. at 147:5-15.

           Elsewhere, Plaintiffs designated testimony from Casale engaging in speculation about

    Google’s motives, id. at 197:8-18 (Q: “What is your understanding of why Google created the

    Open Bidding product?” A: “We assumed it was an attempt at creating a header bidding

    killer.”); testimony that relies on hearsay, id. at 158:16-24 (Q: “Have you ever spoken to

    publishers who expressed any concern about Google's dominance across the ad tech stack?” A:

    “That’s a pretty common position that a lot of publishers have.”); and testimony about how

    certain ad space buyers operate without any foundation as to personal knowledge, id. at 132:17-

    133:8 (Q: “In your opinion, does GDN represent a unique source of demand in the market?” A:




                                                    5
Case 1:23-cv-00108-LMB-JFA Document 1197-1 Filed 08/22/24 Page 10 of 25 PageID#
                                   88435



  “Yes ....... As far as I know, GDN is comprised of either of hundreds of thousands or millions of

  SMBs [small and medium-sized businesses], which is a very, very unique source of demand.”).

         Kargo (Shaugnessy). Plaintiffs designated testimony from Michael Shaugnessy, Chief

  Operating Officer at Kargo, a company that helps publishers sell digital ad space primarily

  through direct deals between buyers and sellers, as well as through its “supply-side platform”

  (SSP) or “exchange” offering. Ex. L, Michael Shaugnessy 30(b)(1) (Kargo) Dep. Tr. 8:15-24,

  11:18-25, 12:25-13:3. Plaintiffs asked Shaugnessy to opine that Google has the “dominant

  publisher ad server on the market,” id. at 35:16-19, and the “largest SSP for Open Auction

  display advertising transaction,” id. at 14:23-15:2, without having him offer any explanation

  about how he defines the precise boundaries of the market or what substitutes might be

  available. Shaugnessy also opines on how particular product designs might affect competition

  based on his general assumptions about the market or how he believes other publishers might

  operate. E.g., id. at 70:19-71:1-4 (Q: “So how, if at all, does the link between GDN, AdX, and

  DFP affect competition between publisher ad servers?” A: “It inhibits meaningful competition

  . . . . From my understanding, the systems operate best together.”); id. at 50:9-25 (“Publishers

  use Google Ad Manager and would not switch, as far as I know, unless there was an

  opportunity to access this type of demand [from AdX].”).

         Kevel (Avery). Plaintiffs designate testimony from James Avery, the founder and CEO

  of Kevel, a company which sells application programming interfaces to ad space sellers so they

  can build their own ad platforms. Ex. A, James Avery 30(b)(1) (Kevel) Dep Tr. at 10:21-25.

         Plaintiffs asked Avery to opine on his views about competition in the market generally,

  asking “what opinion, if any” he had on “the effects on competition or other publisher ad

  servers that result from the links between [Google’s] DFP, AdX and AdWords.” Id. at 96:17-




                                                6
Case 1:23-cv-00108-LMB-JFA Document 1197-1 Filed 08/22/24 Page 11 of 25 PageID#
                                   88436



  97:6 (emphasis added). Avery responded, “I think it makes it almost impossible for publisher

  ad servers to compete against GAM in the market.” Id. Similarly, Plaintiffs invited Avery to

  opine several times on Google’s market share. E.g., id. at 28: 11-13, 43:13-20, 50:25-51:13.

  For instance, Avery opined that Google’s position in the publisher ad server business is

  “dominant.” Id. at 28: 11-13. Elsewhere, Plaintiffs asked Avery about his views that Google’s

  publisher ad server is a “monopoly in the publisher ad server market.” Id. 43:13-20. Avery

  responded by stating that “over 90 percent or more of publishers are using” Google’s publisher

  ad server. Id. Plaintiffs also asked Avery how Google’s ad exchange AdX compares “to other

  ad exchanges – like Index, Pubmatic, or AppNexus – for programmatic display advertising,”

  “[i]n terms of size,” to which Avery responded, “I believe it is the largest.” Id. at 50:25-51:13.

  When asked for the basis for this assertion, Avery admitted it was “[b]ased on the publishers

  that we talked to.” Id.

         Magnite (Soroca). Plaintiffs designate testimony from Adam Soroca, the Chief Product

  Officer for Magnite, which operates a “sell-side advertising platform.” Ex. M, Adam Soroca

  30(b)(6) (Magnite) Dep. Tr. at 11:20-12:5; 121:17-122-13.

         Throughout Soroca’s deposition, Plaintiffs repeatedly elicited opinion testimony about

  what he believed Google’s market share was in various alleged product markets or how he

  would characterize Google’s position in the market. E.g., id. at 18:9-12 (Q: “Mr. Soroca, which

  company has the largest display publisher ad server?” A: “I believe that to be Google.”); id. at

  19:1-6 (“position in the display publisher ad server business” is “dominant”); id. at 20:7-11

  (same as to “ad exchange business”); id. 21:5-9 (similar); id. at 23:14-18 (same as to “sell side

  in the display advertising market”); id. at 25:18-21 (same as to “Google demand network’s

  position”); id. at 195:14-19 (similar, opining across markets).




                                                 7
Case 1:23-cv-00108-LMB-JFA Document 1197-1 Filed 08/22/24 Page 12 of 25 PageID#
                                   88437



          When asked what basis he had for these opinions, Soroca offered (without detail) his

  own market share calculations, id. at 19:9-12 (“I believe them to have market share in the 95 to

  97 percent range”); hearsay, id. 20:12-16 (“As we talk with our publishers and our advertisers,

  they signal that this is the case.”), id. at 25:22-26:4 (reporting what “publishers tell” him); and

  general industry chatter, id. at 27:8-12 (DV360 is “known in the industry to be the largest”).

          Microsoft (John). Plaintiffs designate testimony from Benneaser John, VP of

  Engineering at Microsoft. Ex. H, Ben John 30(b)(6) (Microsoft) Dep. Tr. at 7:21-8:16. John

  joined Microsoft as part of its acquisition of Xandr (formerly known as “AppNexus”), having

  served as Chief Technology Office at both predecessor companies. Id. As noted above, see

  supra at 3, AppNexus provides a set of ad tech tools that operate across the full technology

  stack for ad buyers and sellers.

          As with other rivals, Plaintiffs elicit improper opinion testimony from John about how

  he perceives Google’s position in the market without any foundation for how John would have

  personal knowledge about Google’s user base or what the limits of any particular market is in

  John’s view. Id. at 183:24-184:5 (Google is “the leading market player” in the “publisher ad

  server business”); id. at 194:25-195:7 (stating that the Google Display Network, “Because of

  the user volume and access and the market penetration with Google’s—properties and the large

  scale . . . it’s pretty big.”).

          Plaintiffs also elicited opinion testimony about why John believes Google is able to

  outcompete rivals. John asserted Google was “able to maintain its position as the largest

  display SSP” because “the customers that Google ad server and AdX had access . . . [to] are

  sticky.” Id. at 238:13-239:3. John also opines that Google has remained larger than Microsoft,

  even though “Xandr is doing all that it can to compete with Google,” because of “AdX




                                                 8
Case 1:23-cv-00108-LMB-JFA Document 1197-1 Filed 08/22/24 Page 13 of 25 PageID#
                                   88438



  demand.” Id. at 243:3-19; see id. (“that publishers can monetize in place of Google is the

  reason consistently the publishers are leveraging Google's product”). Both opinions make

  assumptions about customer behavior—that publishers stay with Google solely for access to

  AdX demand (are “sticky”) and that they would not move elsewhere for a better product

  offering—for which John lacks personal knowledge and Plaintiffs lay no foundation.

         John also provides more general opinions on how certain product design might affect

  competition in the marketplace. E.g., id. at 184:17-185:4 (opining the impact “on competition

  from the fact that Google demand is not fully available to publishers, unless the publishers use

  DFP” is that “there will not be any other ad server other than Google”); id. 204:3-14 (opining

  that “Google’s acquisition of DoubleClick” means “that publishers are not able to migrate and

  other players are not able to migrate publishers to other ad servers, there is no level field on

  playing competition”). As with other rivals, Plaintiffs laid no foundation for these broad

  conjectures about competition, basing some on hearsay. Id. at 186:3-13 (Q: “Is Google's

  publisher ad server’s success due to Google competing fairly on the merits and having the best

  product?” A: “Based on what I hear and see the documentation, Google doesn’t have the best

  product ....... But as I said, product is not the only reason customers or publishers stay with or

  work with Google ad server. It’s the demand and stickiness.”).

         OpenX (Gentry). Plaintiffs designated testimony from John Gentry, CEO of OpenX, a

  “global ad exchange.” Ex. F, John Gentry 30(b)(6) (OpenX) Dep. Tr. at 11:6-12. Plaintiffs

  asked Gentry to opine on “AdX’s position in the display exchange business,” which Gentry

  described as “dominant.” Id. at 40:13-16. Similarly, Plaintiffs asked Gentry to “characterize

  Google’s position in the display publisher ad server business.” Id. at 17:16-21. Again, Gentry

  opined that Google’s position is “dominant” with a “90 percent-plus share.” Id. Separately,




                                                  9
Case 1:23-cv-00108-LMB-JFA Document 1197-1 Filed 08/22/24 Page 14 of 25 PageID#
                                   88439



  Plaintiffs asked Gentry to opine about the experiences of a publisher, often eliciting a response

  premised on hearsay. E.g., id. at 18:8-19; 30:15-23. For instance, Plaintiffs asked Gentry “why

  would a publisher want to manage their price floors to have less revenue from Google and more

  revenue from other exchanges?” Id. at 30:15-23. Gentry opines, “most publishers would

  express to me that they were concerned about the reliance on Google revenue and the significant

  amount of Google – significant percentage of revenue that Google represented of their total.”

  Id.

         The Trade Desk (Dederick). Plaintiffs elicited inadmissible lay opinion testimony

  from The Trade Desk’s 30(b)(6) representative, John Dederick. The Trade Desk is an “ad

  buying platform” that enables digital ad space buyers to execute “digital advertising

  campaigns.” Ex. E, John Dederick 30(b)(6) (The Trade Desk) Dep. Tr. at 13:5-21. Dederick

  served as “Chief Client Officer and EVP,” id. at 8:2-5, and testified that although his “expertise

  obviously is working with our buyers,” id. at 73:15-24, he is “not responsible for most of our

  individual client conversations,” because that “wouldn’t have been [his] role,” id. at 94:16-

  95:12. He contrasted The Trade Desk, which he referred to as “a buy-side only representative,”

  id. at 90:13-17, and a “buy-side only platform,” id. at 90:20-91:9, with the “sell-side of our

  industry,” which he stated includes “companies like SSPs4 and publisher ad servers.” Id. at

  91:10-17. Dederick testified The Trade Desk’s “most intense competition has been and

  continues to be with Google’s demand side platform,” which is not in any market defined by

  Plaintiffs. Id. at 24:18-25:5.




  4
   “An ad exchange” is “sometimes called a supply-side platform or SSP.” Am. Compl. ¶ 46,
  ECF No. 18.


                                                 10
Case 1:23-cv-00108-LMB-JFA Document 1197-1 Filed 08/22/24 Page 15 of 25 PageID#
                                   88440



          Although Dederick’s own experiences were exclusively in supporting ad space buyers—

  not ad space sellers—DOJ solicited extensive opinion testimony about general marketplace

  dynamics across the ad tech industry, including about the ad space seller side of the business.

  Dederick opined, for instance, that Google’s publisher ad server “is far and away the dominant

  publisher ad server.” Id. at 153:23-154:2. When asked why he said that, Dederick did not

  indicate any data source or basis for personal knowledge but instead opined on his general

  understanding of the evolution of Google’s advertising business. Id. at 154:3-155:14. Dederick

  similarly opined that this history enabled Google “to set the rules for all of the auctions.” Id. at

  205:15-206:24. Plaintiffs also invited Dederick to opine on whether “Google’s position in the

  publisher ad server business for Display” was “good for advertisers, bad for advertisers or how

  do you see it?” Id. at 206:25-207:4. Dederick responded that “having one party dominate all of

  publisher ad serving is really terrible for advertisers” because “it limits their ability to get

  competitive yield optimization from the publishers, it limits their ability to have a fair chance at

  buying the most cost effective or efficient, it eliminates the possibility for a more cost efficient

  supply chain . . .” Id. at 207:7-24. Confirming this answer was not based on personal

  knowledge but instead specialized knowledge and hearsay, Dederick explained: “I base that

  answer on my knowledge of how publisher ad servers interact with ad exchanges and DSPs and,

  you know, 11 years of representing buyers who have spoken about the consequences of what

  that means for advertisers.’” Id. at 207:25-208:8.

          Even on the ad buyer side of the business, Dederick’s testimony veered into improper

  opinion. For example, when Plaintiffs asked Dederick why he “describe[d] AdX, Google's AdX

  as dominant,” Dederick responded that it was because AdX has “the largest pool of inventory

  that we look at programmatically, so any DSP has to buy AdX in order to be competitive.” Id.




                                                   11
Case 1:23-cv-00108-LMB-JFA Document 1197-1 Filed 08/22/24 Page 16 of 25 PageID#
                                   88441



  at 162:7-22. Dederick’s answer was premised on assumptions about how advertisers operate

  without any indication of personal knowledge or even data substantiating his view of Google’s

  inventory compared to other large publishers (for instance the numerous popular social media

  sites, including Facebook). Likewise, Dederick was invited to opine on the effect that Google’s

  “acquisition of Admeld [had] on Google’s position in the ad exchange market,” to which he

  offered a lengthy account of how he understood Google’s product offerings evolved. Id. at

  215:15-217:1. None of this was based on direct knowledge but instead amounted to general

  opinion testimony, which is reserved for experts based on their skill and training.

         NewsCorp (Minkin). As with rivals, Plaintiffs also elicited lay opinion testimony from

  several large publishers. This includes testimony from David Minkin, who oversees the sale of

  digital advertising at News Corp, a company that includes publications such as The Wall Street

  Journal, Market Watch, and Barrons. Ex. I, David Minkin 30(b)(6) (NewsCorp) Dep. Tr. at

  13:8-10, 13:14-18, 14:4-10. Here, too, Plaintiffs elicited testimony that “the position of AdX as

  compared to other ad exchanges” was “[d]ominant,” id. at 199:10-20, and that “Google’s

  publisher ad server’s position” was also “dominant,” id. at 189:19-190:4. Despite making a

  marketwide statement, Minkin’s based his testimony on his “own understanding of the

  industry,” “common knowledge”, and News Corp’s “own reports on programmatic revenue.”

  Id. at 198:23-199:2; 199:15-20.

         New York Times (Glogovsky). Plaintiffs also designated improper opinion testimony

  from James Glogovsky, Vice President of Revenue and Operations at The New York Times,

  another large publisher. Ex. G, James Glogovsky 30(b)(1) & 30(b)(6) (The New York Times)

  Dep Tr. at 14:8-14. For instance, Plaintiffs ask Glogovsky to opine if “it could be better for

  competition if AdX were available separately from DFP,” to which Glogovsky responded,




                                                12
Case 1:23-cv-00108-LMB-JFA Document 1197-1 Filed 08/22/24 Page 17 of 25 PageID#
                                   88442



  “assuming that there were available competitors of potential—or of the necessary size to

  compete and fill the vacant inventory, it would be potentially beneficial in this hypothetical

  scenario.” Id. at 283:16-284:2.

         Vox (Pauley). Plaintiffs designated testimony from Ryan Pauley, President of Revenue

  and Growth at Vox Media. Vox 30(b)(1) & 30(b)(6) (Pauley) Dep Tr. at 7:4-6. Vox is a

  publisher and ad tech competitor. The company sells ad inventory on its digital properties, and

  sells its own proprietary ad tech tools, including an ad network and an SSP, under the brand

  name “Concert.” Id. at 71:23-72:17; 79:19-80:7; 127:20-128:18.

         Plaintiffs asked Pauley to opine on the state of competition in the industry. For instance,

  Plaintiffs asked, “do you feel there is or is not a sufficient level of competition for Google Ad

  Manager as a publisher ad server today?” to which Pauley opines, “In my assessment, there is

  not a significant amount of competition in that market.” Id. at 41:25-42:9. Plaintiffs also asked

  Pauley to “characterize the level of competition” AdX “faces in the exchange business.” Id. at

  15:20-22. Pauley opined, “I don’t view there to be much competition at the scale that AdX is

  operating at for our business.” Id. at 15:25-16:3. Similarly, Plaintiffs ask Pauley “what impact,

  if any,” do Google’s Unified Pricing Rules “have on the potential for there to be more

  competition for AdX?” Id. at 29:13-19. In response, Pauley opined, “[i]t seemed to limit

  competition for AdX.” Id. Elsewhere, Plaintiffs elicited testimony from Pauley on various

  hypotheticals, including, “if competition for AdX were to increase, what impact, if any, could

  that have on AdX’s take rates.” Id. at 54:9-11. Pauley responded, “I think, presumably and

  speculatively, it could lower the take rates of AdX and increase the revenue to a publisher like

  Vox Media.” Id. at 54:14-17.




                                                 13
Case 1:23-cv-00108-LMB-JFA Document 1197-1 Filed 08/22/24 Page 18 of 25 PageID#
                                   88443



  III.   LEGAL STANDARD

         Courts have broad discretion to resolve evidentiary issues raised in motions in limine.

  Kauffman v. Park Place Hosp. Grp., 468 F. App’x 220, 222 (4th Cir. 2012). In jury trials and

  bench trials alike, courts grant motions in limine to exclude irrelevant evidence and eliminate

  unnecessary argument or delay to streamline a trial. See, e.g., Moke Am. LLC v. Am. Custom

  Golf Cars, Inc., 2023 WL 3686963, at *1, 5 (E.D. Va. Jan. 11, 2023); Floyd v. City of

  Spartanburg S.C., 2023 WL 7385716, at *11 (D.S.C. Aug. 29, 2023).

  IV.    ARGUMENT

         A.      The Court should exclude lay testimony concerning market definition,
                 market power, and competitive effects because it is improper expert opinion
                 testimony offered by lay witnesses.

         Federal Rule of Evidence 701 requires that lay witness opinion testimony be “limited to

  one that is” both “rationally based on the witness’s perception” and “not based on scientific,

  technical, or other specialized knowledge.” Fed. R. Evid. 701(a), (c). Rule 701 therefore

  “generally does not permit a lay witness to express an opinion as to matters which are beyond the

  realm of common experience and which require the special skill and knowledge of an expert

  witness.” Certain Underwriters at Lloyd’s, London v. Sinkovich, 232 F.3d 200, 203 (4th Cir.

  2000). Instead, a lay witness may only “offer an opinion on the basis of relevant historical or

  narrative facts that the witness has perceived.” King v. Rumsfeld, 328 F.3d 145, 157 (4th Cir.

  2003) (Gregory, J., concurring in part and dissenting in part) (citations omitted).

         Federal Rule of Evidence 702, in turn, sets forth the requirements for admissible expert

  opinion testimony: a “witness who is qualified as an expert by knowledge, skill, experience,

  training, or education may testify in the form of an opinion or otherwise if the proponent

  demonstrates to the court that,” among other things, “it is more likely than not that . . . the

  testimony is based on sufficient facts or data,” and “is the product of reliable principles or


                                                 14
Case 1:23-cv-00108-LMB-JFA Document 1197-1 Filed 08/22/24 Page 19 of 25 PageID#
                                   88444



  methods.” Fed. R. Evid. 702(b)-(c); see Fed. R. Civ. P. 26 (requiring disclosure of a written report

  containing “a complete statement of all opinions to be expressed and the basis and reasons for

  them”). These disclosure requirements enable the court to “ensure that” expert opinion testimony

  “is not only relevant, but reliable.” Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579,

  589 (1993); see also Prieto v. Malgor, 361 F.3d 1313, 1318-19 (11th Cir. 2004) (holding that a

  police officer should have produced an expert report before testifying on the appropriateness of

  level of force used by officers); Nat'l R.R. Passenger Corp. v. Ry. Express, LLC, 268 F.R.D. 211,

  217 (D. Md. 2010) (requiring production of expert reports for railroad’s employees who would

  testify about how real estate and train movements would be affected by potential resolution of

  case).

           The Fourth Circuit, and federal courts around the country, apply Rules 701 and 702 to

  prohibit lay witnesses from offering testimony that is the proper province of an expert. In

  Sinkovich, for example, the Fourth Circuit held that the district court erred in admitting lay

  testimony at a bench trial under Rule 701 when the testimony was based on the witness’s

  investigation and analysis of the accident at issue (expert opinion under Rule 702) rather than on

  “first-hand knowledge of the accident . . . based on his perceptions.” 232 F.3d at 204; see also,

  e.g., United States. v. Perkins, 470 F.3d 150, 155-56 (4th Cir. 2006) (affirming exclusion of

  officer testimony about “reasonableness” of use of force where officers did not witness the use

  because “lay opinion testimony must be based on personal knowledge”) (emphasis in original).

           Non-parties’ lay opinion testimony about Google’s alleged “dominant” position, whether

  it is a “monopoly,” its market share, conclusory views of the relevant antitrust markets constructed

  for this litigation, and speculative opinions about harm to competition all trespass the Federal

  Rules’ careful separation between lay and expert witness testimony.




                                                 15
Case 1:23-cv-00108-LMB-JFA Document 1197-1 Filed 08/22/24 Page 20 of 25 PageID#
                                   88445



         Each of these topics requires evidence based on “scientific, technical, or other specialized

  knowledge,” which must be supported by a properly qualified expert under Rule 702, not a lay

  witness’s opinion. Fed. R. Evid. 701; see also Fed. R. Evid. 701 advisory committee’s note to

  2000 amendment (“the distinction between lay and expert witness testimony is that lay testimony

  results from a process of reasoning familiar in everyday life, while expert testimony results from

  a process of reasoning which can be mastered only by specialists in the field.” (internal quotation

  marks and citation omitted)). For example, whether Google has monopoly power is a technical

  question that depends significantly on the boundaries of the relevant market, whether there are

  viable substitutes for Google’s offerings, and precise calculations based on verifiable data. See

  Facebook, 560 F. Supp. 3d at 20 (noting “monopoly power” is a “term of art” and noting the FTC

  could not satisfy its pleading burden by “merely alleg[ing] that a defendant firm has somewhere

  over 60% share of an unusual, nonintuitive product market — the confines of which are only

  somewhat fleshed out and the players within which remain almost entirely unspecified”).

         The fact that a witness may have some relevant industry background about the topic at

  hand does not permit Plaintiffs to admit “expert testimony dressed in lay witness clothing.”

  Perkins, 470 F.3d at 156. For example, in Air Turbine Tech., Inc. v. Atlas Copco AB, 410 F.3d

  701, 714 (Fed. Cir. 2005), the court affirmed exclusion of the testimony of a lay witness—the co-

  inventor of a patent—about his observations regarding the mechanical functions of another

  product that may have infringed that patent. Likewise, in Bank of China, New York Branch v.

  NBM LLC, the court reversed the district court’s admission of lay witness testimony from a bank

  employee “regarding typical international banking transactions or definitions of banking terms,

  and any conclusions that he made” to the extent it “reflected specialized knowledge he has




                                                16
Case 1:23-cv-00108-LMB-JFA Document 1197-1 Filed 08/22/24 Page 21 of 25 PageID#
                                   88446



  because of his extensive experience in international banking” rather than “based on his

  perceptions.” 359 F.3d 171, 181-82 (2d Cir. 2004).

         The testimony Plaintiffs seek to offer from non-parties is just like that which was held

  improper in these and other cases. For example, Plaintiffs designate testimony from NewsCorp’s

  corporate representative opining that Google’s ad server and ad exchange had a “dominant”

  position in the market based on NewsCorp’s own revenue reports (which would not reveal

  Google’s position in the market for all publishers) and the representative’s “own understanding

  of the industry and the fact that I’ve been in it for 24 years.” Ex. I at 199:15-20; see id. at 188:19-

  190:4. Likewise, Plaintiffs designate testimony from The Trade Desk, a rival of Google’s for ad

  buying tools, opining that “having one party dominate all of publisher ad serving is really terrible

  for advertisers,” Ex. E at 207:7-24, not on the basis of personal knowledge but rather a general

  understanding grounded in claimed expertise from years of working in the industry and otherwise

  inadmissible hearsay, id. at 207:25-208:8. (“I base that answer on my knowledge of how publisher

  ad servers interact with ad exchanges and DSPs and, you know, 11 years of representing buyers

  who have spoken about the consequences of what that means for advertisers.”).

         It makes no difference that third parties may profess to couch their opinions in many years

  or extensive experience in the industry. “[L]ay opinion testimony is admissible only to help the

  jury or the court to understand the facts about which the witness is testifying and not to provide

  specialized explanations or interpretations that an untrained layman could not make if perceiving

  the same acts or events.” United States v. Turner, 781 F.3d 374, 388 (8th Cir. 2015) (internal

  quotation marks and citation omitted). Where a witness’s testimony is “not based only on his

  observations,” but also on “accumulated expertise obtained through experience and training,” it

  does not meet the requirements of Rule 701. United States v. Conn, 297 F.3d 548, 554 (7th Cir.




                                                  17
Case 1:23-cv-00108-LMB-JFA Document 1197-1 Filed 08/22/24 Page 22 of 25 PageID#
                                   88447



  2002); id. at 554-55 (concluding that the testimony offered by an AFT agent regarding the

  defendant’s firearms collection should have been excluded under Rule 701 because the agent was

  “assisting the jury by applying his years of ATF experience to give the jurors a better

  understanding of the nature of Mr. Conn’s firearms stash”); see also Bank of China, 359 F.3d at

  181-82 (Where a lay witness has “specialized knowledge” acquired through “extensive

  experience” in a particular field, and relies on that knowledge rather than his immediate

  observations of the case, “admission pursuant to Rule 701 [is] error.”).

          B.     The Court should exclude lay witness opinion testimony because it is
                 speculative and lacking in foundation.

          Federal Rule of Evidence 602 provides “a witness may testify to a matter only if evidence

  is introduced sufficient to support a finding that the witness has personal knowledge of the

  matter.” Fed. R. Evid. 602; see Daedalus Blue, LLC v. Microstrategy Inc., 2023 WL 5337826,

  at *5-6 (E.D. Va. Aug. 18, 2023) (excluding lay testimony from an employee at defendant’s firm

  offering opinion about how technical code compares in a patent infringement suit where employee

  did not work on the code at issue because he lacked the personal knowledge required by Rule

  602).

          In several instances, Plaintiffs directly invited lay witnesses to speculate outside their

  personal knowledge. E.g., Ex. G at 174:15-24. (Q: “What’s your best estimate, based on your

  experience, for whether Google's DSP either does or does not provide unique demand for open

  auction specifically for The New York Times?” A: “My best guess is that Google's DSP has

  unique demand and transacts on The New York Times.” (emphasis added)); Ex. B, Gopal Bhatia

  30(b)(1) (NBC Universal + Comcast) Dep. Tr. at 90:23-91:3 (Q: “Was there a need for more

  competition in the display advertising marketplace?” A: “I believe most players believed so, yes.”

  (emphasis added)). More broadly, Plaintiffs asked rivals on numerous occasions to opine about



                                                18
Case 1:23-cv-00108-LMB-JFA Document 1197-1 Filed 08/22/24 Page 23 of 25 PageID#
                                   88448



  how ad buyers and sellers make decisions even though they had no personal knowledge about

  those decisions. For example, Plaintiffs designated testimony from Microsoft opining that

  Google’s publisher customers are “sticky” and remain with Google solely because of “AdX

  demand,” despite having no personal knowledge of how those customers actually evaluate which

  ad tech tool to use. Ex. H at 238:13-239:3, 243:3-19.

            Elsewhere, Plaintiffs elicited improper opinion not based on personal knowledge by

  posing hypotheticals that asked Google’s competitors to speculate about how altering certain

  market dynamics would affect competition. E.g., Ex. K at 120:6-14 (Q: “Would more

  competition in – or what impact, if any, would more competition in the publisher ad server

  business and the scaled SSP business have on innovation?” A: “Speculatively, it would improve

  the innovation in those markets, I would presume.”); Ex. F at 32:19-22 (Q: “Shifting transactions

  from AdX to other exchanges could potentially make the exchange market more competitive. Is

  that fair?” A: “Yes.”). All of this testimony should be excluded because lay witness cannot

  “answer hypothetical questions.” Sinkovich, 232 F.3d at 203; see Flatiron-Lane v. Case Atl. Co.,

  121 F. Supp. 3d 515, 543 (M.D.N.C. 2015) (“Moreover, when a witness gives his testimony in

  response to a hypothetical question, this indicates that he is giving an expert opinion within Rule

  702.”).

            Because none of this testimony is within the witnesses’ personal knowledge, it should be

  excluded as lacking foundation and speculative.

            C.     The Court should exclude improper lay opinion testimony to the extent it
                   relies on hearsay.

            Federal Rule of Evidence 802 provides that hearsay is generally inadmissible. See Fed. R.

  Evid. 802. Federal Rule of Evidence 703 creates a limited exception to that general rule, allowing

  a testifying “expert” to rely on “otherwise . . . inadmissible” materials—including hearsay—in



                                                  19
Case 1:23-cv-00108-LMB-JFA Document 1197-1 Filed 08/22/24 Page 24 of 25 PageID#
                                   88449



  forming their opinion. See Fed. R. Evid. 703. The rules do not extend this same courtesy to lay

  witnesses. Yet Plaintiffs’ lay witnesses’ opinions regarding Google’s alleged anticompetitive

  conduct are predicated on inadmissible hearsay, for example, statements made to witnesses by

  their customers. E.g., Ex. A at 51:11-13 (opinion was “Based on the publishers that we talked

  to”); Ex. I 189:19-190:4 (opinion based on “common knowledge throughout the industry”); Ex.

  F 30:15-23 (opining that “Most publishers would express to [him] that they were concerned about

  the reliance on Google revenue”). The rules’ prohibition of lay witness testimony based on

  hearsay is a third, independent reason to strike the Plaintiffs’ lay witnesses’ opinion testimony

  regarding Google’s alleged monopoly status.

                                          CONCLUSION

         For the foregoing reasons, the Court should exclude all improper lay witness opinion
  testimony.




                                                20
Case 1:23-cv-00108-LMB-JFA Document 1197-1 Filed 08/22/24 Page 25 of 25 PageID#
                                   88450



   Dated: August 16, 2024               Respectfully submitted,


   Eric Mahr (pro hac vice)             /s/ Craig C. Reilly
   Andrew Ewalt (pro hac vice)          Craig C. Reilly (VSB # 20942)
   Tyler Garrett (VSB # 94759)          THE LAW OFFICE OF
   FRESHFIELDS BRUCKHAUS                CRAIG C. REILLY, ESQ:
   DERINGER US LLP                      209 Madison Street, Suite 501
   700 13th Street, NW, 10th Floor      Alexandria, VA 22314
   Washington, DC 20005                 Telephone: (703) 549-5354
   Telephone: (202) 777-4500            Facsimile: (703) 549-5355
   Facsimile: (202) 777-4555            craig.reilly@ccreillylaw.com
   eric.mahr@freshfields.com
                                        Karen L. Dunn (pro hac vice)
   Justina K. Sessions (pro hac vice)   Jeannie S. Rhee (pro hac vice)
   FRESHFIELDS BRUCKHAUS                William A. Isaacson (pro hac vice)
   DERINGER US LLP                      Amy J. Mauser (pro hac vice)
   855 Main Street                      Martha L. Goodman (pro hac vice)
   Redwood City, CA 94063               Bryon P. Becker (VSB #93384)
   Telephone: (650) 618-9250            Erica Spevack (pro hac vice)
   Fax: (650) 461-8276                  PAUL, WEISS, RIFKIND, WHARTON &
   justina.sessions@freshfields.com     GARRISON LLP
                                        2001 K Street, NW
   Daniel Bitton (pro hac vice)         Washington, DC 20006-1047
   AXINN, VELTROP & HARKRIDER           Telephone: (202) 223-7300
   LLP                                  Facsimile (202) 223-7420
   55 2nd Street                        kdunn@paulweiss.com
   San Francisco, CA 94105
   Telephone: (415) 490-2000            Erin J. Morgan (pro hac vice)
   Facsimile: (415) 490-2001            PAUL, WEISS, RIFKIND, WHARTON &
   dbitton@axinn.com                    GARRISON LLP
                                        1285 Avenue of the Americas
   Bradley Justus (VSB # 80533)         New York, NY 10019-6064
   AXINN, VELTROP & HARKRIDER           Telephone: (212) 373-3387
   LLP                                  Facsimile: (212) 492-0387
   1901 L Street, NW                    ejmorgan@paulweiss.com
   Washington, DC 20036
   Telephone: (202) 912-4700
   Facsimile: (202) 912-4701
   bjustus@axinn.com


   Counsel for Defendant Google LLC




                                        21
